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5
     Attorney for Defendant
     NAZHMUDIN RUSTAMOV
6
                               IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
7

8

9    UNITED STATES OF AMERICA,                        )       No. CR-S-12-060 MCE
                                                      )
                                                      )
10             Plaintiff,                             )       STIPULATION REGARDING
11
                                                      )       EXCLUDABLE TIME PERIODS
     v.                                               )       UNDER SPEEDY TRIAL ACT;
                                                      )       [PROPOSED] FINDINGS
12
     SHCHIRSKIY, et al.,                              )
                                                      )       Date: December 6, 2012
13
                                                      )       Time: 9:00 a.m.
               Defendants.                            )       Judge: Honorable Morrison C. England, Jr.
14
                                                      )
                                                      )
15
                                                      )
16
               The United States of America through its undersigned counsel, Lee Bickley, Assistant
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     United States Attorney, together with counsel for defendant Anton Tkachev, Chris Haydn-Myer,
18

19   Esq., and counsel for defendant Nazhmudin Rustamov, John R. Manning, Esq., hereby stipulate

20   the following:
21
          1. By previous order, this matter was set for status conference on October 11, 2012.
22
          2. By this stipulation, defendants now move to continue the status conference until
23

24
     December 6, 2012 and to exclude time between October 11, 2012 and December 6, 2012 under

25   the Local Code T-4 (to allow defense counsel time to prepare).
26
          3.   The parties agree and stipulate, and request the Court find the following:
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               a. This case includes over 1,500 pages of discovery and three co-defendants.
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            b.    Counsel for the defendants need additional time to review the discovery and conduct
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2                investigation.

3           c. Counsel for defendants believe the failure to grant a continuance in this case would
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                 deny defense counsel reasonable time necessary for effective preparation, taking into
5
                 account the exercise of due diligence.
6

7
            d. The Government does not object to the continuance.

8           e. Based on the above-stated findings, the ends of justice served by granting the
9                requested continuance outweigh the best interests of the public and the defendants in
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                 a speedy trial within the original date prescribed by the Speedy Trial Act.
11
            f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
12

13               Section 3161(h)(7)(A) within which trial must commence, the time period of October

14               11, 2012 to December 6, 2012, inclusive, is deemed excludable pursuant to 18 United
15
                 States Code Section 3161(h)(7)(A) ) and (B)(iv), corresponding to Local Code T-4
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                 because it results from a continuance granted by the Court at defendant’s request on
17
                 the basis of the Court’s finding that the ends of justice served by taking such action
18

19               outweigh the best interest of the public and the defendant in a speedy trial.

20     4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
21
            Speedy Trial Act dictate that additional time periods are excludable from the period within
22
            which a trial must commence.
23

24   IT IS SO STIPULATED.
25

26   Dated: October 9, 2012                                        /s/ Chris Hayd-Myer
                                                                   CHRIS HAYDN-MYER
27                                                                 Attorney for Defendant
28
                                                                   Anton Tkachev



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     Dated: October 9, 2012                                          /s/ John R. Manning
1
                                                                    JOHN R. MANNING
2                                                                   Attorney for Defendant
                                                                    Nazhmudin Rustamov
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4

5    Dated: October 9, 2012                                         Benjamin B. Wagner
                                                                    United States Attorney
6

7
                                                                    by:/s/ Lee Bickley
                                                                    LEE BICKLEY
8                                                                   Assistant U.S. Attorney
9

10                                                     ORDER
                            IT IS SO ORDERED.
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12
     Dated: October 12, 2012
13
                                                     __________________________________
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                                                     MORRISON C. ENGLAND, JR
15   DEAC_Signatu re-END:
                                                     UNITED STATES DISTRICT JUDGE

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